Case 1:24-cr-00169-MSN   Document 61   Filed 12/04/24   Page 1 of 5 PageID# 320
Case 1:24-cr-00169-MSN   Document 61   Filed 12/04/24   Page 2 of 5 PageID# 321
Case 1:24-cr-00169-MSN   Document 61   Filed 12/04/24   Page 3 of 5 PageID# 322
Case 1:24-cr-00169-MSN   Document 61   Filed 12/04/24   Page 4 of 5 PageID# 323




                                       Michael S. Digitally signed by
                                                  Michael S. Nachmanoff

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Case 1:24-cr-00169-MSN   Document 61   Filed 12/04/24   Page 5 of 5 PageID# 324
